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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

H.B., by and through PATRICIA F., as her                )
Parent and legal guardian, and                          )
PATRICIA F., individually,                              )
                                                        )
                        Plaintiffs,                     )       Civil Action No. 19-1326
                                                        )
                v.                                      )
                                                        )       District Judge Cercone
PITTSBURGH PUBLIC SCHOOLS,                              )
DISTRICT, Defendant/Third-Party Plaintiff,              )       Magistrate Judge Lenihan
THE CHILDREN’S INSTITUTE of                             )
PITTSBURGH, and LAVALLE TUCKER,                         )
                                                        )       ECF Nos. 89, 93 & 100
                        Defendants,                     )
                                                        )
                v.                                      )
                                                        )
PAUL K. BROWN, t/d/b/a PROFESSIONAL                     )
LIMOUSINE SERVICE,                                      )
                                                        )
                        Third-Party Defendant.          )

                                      MEMORANDUM ORDER

        Plaintiff H.B. (“Minor Plaintiff”) by and through Patricia F. (“Plaintiff Mother”), as her

parent and legal guardian, and Patricia F., individually (collectively “Plaintiffs”), filed this civil

action on October 16, 2019. (ECF No. 1.) The case was referred to United States Magistrate

Judge Lisa Pupo Lenihan for pretrial proceedings in accordance with the Magistrate Judges Act,

28 U.S.C. §636(b)(1), and Local Rules of Court 72.C and 72.D.

        The Magistrate Judge's Report and Recommendation (ECF No. 100), filed on December

15, 2020, recommended that the Motion to Dismiss filed by Defendant the Children’s Institute of

Pittsburgh (ECF No. 89) be granted. It further recommended that the Motion to Dismiss filed by

Third-Party Defendant Paul K. Brown, Inc. t/d/b/a Professional Limousine Service (ECF No.

93), be denied. The parties were informed that in accordance with the Magistrate Judges Act, 28
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U.S.C. § 636(b)(1)(B) and (C), and Rule 72.D.2 of the Local Rules of Court, they had fourteen

(14) days to file any objections, and that unregistered ECF users were given an additional three

(3) days pursuant to Federal Rule of Civil Procedure 6(d). Objections were due on December 29,

2020 for registered ECF Users and on January 4, 2021 for unregistered users. As to registered

users, only Plaintiffs filed objections by the deadline (ECF No. 101). Defendant the Children’s

Institute of Pittsburgh filed a Reply to the Objections on January 6, 2021 (ECF No. 102).

       After review of the pleadings, documents in the case, Objections and the Reply to the

Objections, together with the Report and Recommendation, the following Order is entered:

       AND NOW, this 12th day of January 2021,

       IT IS HEREBY ORDERED that the Motion to Dismiss filed by the Children’s Institute

of Pittsburgh (ECF No. 89) is GRANTED.

       IT IS FURTHER ORDERED that the Motion to Dismiss filed by Third-Party

Defendant Paul K. Brown, Inc. t/d/b/a Professional Limousine Service (ECF No. 93) is

DENIED.

       IT IS FURTHER ORDERED that the Report and Recommendation (ECF No. 100) of

Magistrate Judge Lenihan, dated December 15, 2020, is adopted as the Opinion of the Court.

       IT IS FURTHER ORDERED that the Clerk of Court shall terminate the Children’s

Institute of Pittsburgh as a party defendant.



                                                s/David Stewart Cercone
                                                David Stewart Cercone
                                                Senior United States District Judge




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cc:   Joel S. Sansone, Esquire
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      (Via CM/ECF Electronic Mail)




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